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                                                                                     Pulaski County Cltcult Court
                                                                                   Larry Crane, Cill:ulllCounty Clerk
                                                                                   2018-Dec-03 08:15:09
              IN THE CIRCUIT COURT OF PULASKI COUNTY, ARKAN ;As                       eocV-18-8248
                                                                                     C06D05 : 4 Pages




DAREL ADELSBERGER and
ANNETTE ADELSBERGER                                                                PLAINTIFFS


vs.


UNION PACIFIC RAILROAD COMPANY                                                    DEFENDANT




                                         COMPLAINT


       The plaintiffs by their attorney signing herein assert the following action against the

defendant:

        1. The plaintiffs own real property located in Pulaski County, Arkansas, where they own

and operate an automobile salvage and used parts business (AA Auto).

       2. The defendant is a foreign corporation registered to do business in Arkansas.

       3. All relevant actions and matters occurred in Pulaski County, and this Court has

jurisdiction over the parties to and subject matter of this action.

       4.    At all times material to this action. the defendant used and was responsible for

maintaining railroad tracks and facilities in this state. One track passes through Section 2,

Township 2 North, Range 11 West, Pulaski County where the plaintiffs' property is located at

8125 Highway 161, North Little Rock. When that track was built, the surrounding area was

terrafonned, and the track permanently altered the natural flow of surface water so that drainage
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           of the adjacent land (including the plaintiffs') was dependent upon _trestles, culverts and drainage

           facilities required to be maintained by the defendant.

                  5. The culvert crucial to proper drainage of the plaintiffs' property is a double culvert

           located at approximately the south comer of the Waste Management landfill at Interstate 440

           near Highway 161 in Pulaski County. Attached as Exhibit 1 is a photograph reflecting the

           location of the culvert. When that culvert is blocked, water cannot drain from the area, and it

           causes flooding of the surrounding area including the plaintiffs' property. The defendant was

           required to maintain that culvert and keep it clear so that water would not accumulate and

           damage the surrounding area. From at least 1973 to the present, the defendant failed to properly

           maintain and clear the culvert and blocked the proper drainage of water. During that time, the

           defendant's negligent maintenance of the culvert caused water to flood the plaintiffs' property

           thereby damaging both real and personal pi:operty and caused further loss through the

           interruption of the operation of their business.

                  6. The defendant owed a duty to the plaintiffs to properly maintain the culvert and

           drainage facilities, and the defendant's negligence in maintaining those facilities was the

           proximate cause of damage to the plaintiffs' property and their business losses. The accumulated

           water also created a nuisance by attracting snakes to the area.

                  7. The effect of the defendant's negligence is cumulative, and the plaintiffs' property

           continues to be in danger of flooding from accumulating rainfall. Such negligence includes but

           is not limited to causing the natural flow of water to be blocked; failing to anticipate water

           accumulation and the damage caused therefrom; failing to take remedial action to reduce or

           elimiruµe blockage and flood water accumulation; failing to keep clean and open natural and


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               man-made drainage paths for water that accumulates because of the defendant's tracks; and

               otherwise failing to exercise due care under the circumstances.

                               8. The plaintiffs repeatedly notified the defendant of the problem over the years, yet the

               defendant failed to properly maintain the culvert and drainage facilities.

                               9. As a direct and proximate result of the defendant's negligence the plaintiffs suffered

               and will suffer in the foreseeable future loss of the full use of their real property; damage to real

               and personal property;· business interruption and losses; and decreased value of both real and

              personal property, all in excess of the current minimum federal jurisdictional limits.

                               WHEREFORE, the plaintiffs request entry of judgment against the defendant in such

              amount as may be ultimately determined by jury trial together with their costs and all further

              relief to which they may be entitled.




                                                                           Darel Adelsber and
                                                                           Aimetter Adelsberger, Plaintiffs




                                                                   By:
                                                                                 ey D. R s, AR Bar No. 79-237
                                                                           Attorney r the Plaintiffs
                                                                           Post Offic Box 21665
                                                                           Little Rock, Arkansas. 72221
                                                                           Telephone: (501) 227-8999
                                                                           ~-mail: sdr@aristotle.net




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